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                         UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION


                                       :
UNITED STATES OF AMERICA,              :           NO. 1:06-CR-00111(2)
                                       :
                                       :
            v.                         :           OPINION AND ORDER
                                       :
                                       :
HARRIET WARSHAK.                       :
                                       :



            This matter is before the Court on Defendant Harriet

Warshak’s Motion for a New Trial Based on Newly Discovered Evidence

(doc. 645), and the government’s Response in Opposition (doc. 687).

For the reasons indicated herein, the Court DENIES Defendant’s

motion.

            On February 22, 2008, the jury returned guilty verdicts

as to four of the individual and two of the corporate Defendants in

this case, thereby finding the government had proven beyond a

reasonable       doubt    a     massive    fraud   scheme    involving     false

representations      to       consumers,   numerous     fraudulent   “autoship”

charges to consumer credit cards for products the consumers did not

order,    money     laundering,        schemes     to    conceal     transaction

abnormalities from banks, and the obstruction of two federal agency

proceedings (docs. 373, 375, 377, 381, 383, 385).                     As to the

individual Defendant Harriet Warshak, the jury specifically found

her guilty of conspiracy to commit mail, wire, and bank fraud; bank

fraud; conspiracy to commit money laundering; and money laundering
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(doc.   375).     Defendant     Harriet     Warshak    later    challenged   the

verdict, arguing that she merely “hit the button” to process credit

card    transactions,     but    that   she    was     not     privy   to   email

conversations with the rest of Berkeley Premium Nutraceutical, Inc.

(“BPN”) employees, and therefore evidence lacked that she knew

about the schemes (doc. 398).           She further argued that although

testimony showed that she signed merchant bank applications, there

was no evidence that she knew what she was signing or even that she

had read them (Id.).        The Court rejected Defendant’s arguments,

finding well-taken the government’s position that former employee

Shelley Kinmon’s testimony provided an adequate basis for the

jury’s conclusion (doc. 539).        Kinmon testified that Steve Warshak

put Harriet Warshak in charge of processing continuity charges

because she could be trusted, that Harriet Warshak processed

numerous transactions to manipulate the chargeback ratio, and that

Harriet Warshak attended regular staff meetings at which management

discussed the chargeback ratio (Id.). The Court further found that

testimony of witnesses Greg Cossman, Mike Wagner, and Sam Grote

established     that   Harriet    Warshak     signed    merchant       processing

agreements that falsely stated she owned the company (Id.).                   The

Court found the jury reasonably inferred that Harriet Warshak knew

what she was signing, that she made the false statement because

Steve Warshak’s application as the true owner would be rejected,

and that she needed to sign so the company could keep processing


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continuity charges (Id.).         Having reviewed all the evidence, the

Court rejected Harriet Warshak’s argument that she merely pushed a

button as insufficient to overcome the jury’s conclusion that she

knew what was going on at the company, and actively participated

with the intent to keep the continuity scheme going (Id.).

            In the instant motion, Defendant Harriet Warshak argues

that newly discovered meeting notes of BPN employee Bonnie Luther

are material, under both Fed. R. Crim. P. 33 and Brady, and compel

a new trial (doc. 645).          Defendant argues that though less than

five percent of the evidence at trial was against her, her counsel

was forced to search through twenty million pages of documents the

government dumped on Defendants (doc. 645).             Defendant argues the

Court refused to require the government to produce discovery in an

organized, searchable fashion, and denied a continuance so as to

allow Defendant additional time to search the discovery to identify

exculpatory evidence (Id.).           Since the trial, Defendant argues,

Luther’s meeting notes have come to light, and such notes show that

Harriet Warshak did not attend company meetings in 2002 and barely

attended half of the other company meetings (doc. 645).               Defendant

argues this evidence in not merely cumulative and that had counsel

been in possession of the notes, counsel could have cross-examined

witnesses with them, and even put Luther on the stand to testify

about them (Id.).       Defendant further argues that in light of the

fact that the Court placed heavy weight on Shelley Kinmon’s


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testimony in denying her motion for acquittal, it is likely that

the new evidence would have produced an acquittal (Id.).

             The government responds that Defendant’s motion fails to

meet the standard for a new trial under Rule 33, and in any event,

Luther’s notes are immaterial (doc. 687).                   Specifically, the

government     argues    Luther’s     notes    do   not    qualify    as   “newly

discovered evidence” because all the Defendants were aware of and

attended the meetings, a fact they all knew individually and

presumably    by   way   of   their   shared    joint     defense    (Id.).    In

addition, the government contends the notes have been in the

possession of Defendants for years and could have been located

earlier with due diligence, and Bonnie Luther was designated as a

Defense witness who Defendants simply chose not to call to testify

(Id.). The notes themselves, argues the government, are incomplete

and fail to indicate who attended most 2003 meetings, while the

notes for 2004 show Harriet Warshak was present for virtually all

of the meetings (Id.).         The notes would not produce a different

result, argues the government, because Harriet Warshak’s attendance

at meetings is but one piece of evidence of her involvement in the

BPN fraud scheme (Id.).       Finally, the government responds that the

meeting notes do not qualify as Brady material for the simple

reason that the notes were in the possession of Defendants, who

should have reasonably known of their existence (Id. citing Carter

v. Bell, 218 F.3d 581, 601 (6th Cir. 2000), United States v. O’Dell,


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805 F.2d 637, 641 (6th Cir. 1986)).

             Having      reviewed   this       matter,   the   Court   finds    the

government’s position well-taken in all respects.                Bonnie Luther’s

notes do not qualify as “newly discovered” because the evidence

could have been discovered earlier with due diligence, the evidence

is immaterial, and the evidence would not likely produce an

acquittal.        United States v. O’Dell, 805 F.2d 637, 640 (6th Cir.

1986).    Defendants identified Bonnie Luther as a potential defense

witness, so there is no reason for their failure to discover any

evidence she may have been able to rely upon.                      The evidence

further does not qualify as Brady material because it was in the

possession of Defendants.           Carter v. Bell, 218 F.3d 581, 601 (6th

Cir. 2000).

                  In addition, the Court rejects Defendant’s assertion

that the Court “refused to require the government to produce

discovery in an organized, searchable fashion,” which is flatly

wrong. The Court ordered the United States to produce the exhibits

it intended to use at trial in late November 2007, more than a

month in advance of the commencement of trial on January 8, 2008

(doc. 193).

             In    any    event,    the    Luther    meeting    notes,   even    if

considered “newly discovered,” are hardly a basis to grant a new

trial.   The verdict against Harriet Warshak could have reasonably

been premised on other evidence put before the jury concerning her


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processing of credit card transactions and her signing of merchant

processing agreements that falsely stated she owned the company.

Moreover, the Luther notes do not contradict the testimony of

Shelley Kinmon: they indicate that Harriet Warshak was present at

virtually all of the 2004 meetings, and Luther’s affidavit states

Defendant was present at half the meetings in 2002 and 2003.                Such

information comports with Kinmon’s testimony that Harriet Warshak

attended   meetings     where   the   company    management     discussed    the

chargeback ratio.        For all of these reasons, the Court finds

Defendant’s motion lacking in merit.

            Accordingly, the Court DENIES Defendant Harriet Warshak’s

Motion for a New Trial Based on Newly Discovered Evidence (doc.

645).


            SO ORDERED.

Dated: October 8, 2008               /s/ S. Arthur Spiegel
                                    S. Arthur Spiegel
                                    United States Senior District Judge




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